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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


UNITED STATES OF AMERICA


v.                                    Case No. 4:07CR00086-22 JMM


DEMETRIUS STUBBS


                                             ORDER

       Pending is Defendant Demetrius Stubbs’ pro se Motion for Modification of his Federal

Sentence. (Docket # 747). Defendant requests a modification of his sentence pursuant to 18

U.S.C. § 3553(a). Defendant argues that the Court should apply a 1 to 1 crack to powder

cocaine ratio reduction.

       Defendant was sentenced on April 30, 2008, to a 60 month term of imprisonment.

He received a Rule 35 reduction from 60 months to 54 months on April 21, 2009. A district

court’ s power to revise a sentence after it is imposed is limited. United States v. Gurski, 317

Fed. Appx. 582 (8th Cir. 2009)(citing Fegans v. United States, 506 F.3d 1101, 1104 (8th

Cir.2007)).   18 U.S.C. § 3582(c) provides three jurisdictional grants under which a court may

“modify a term of imprisonment once it has been imposed.” A court may modify a sentence: (1)

in certain circumstances “upon motion of the Director of the Bureau of Prisons”; (2) “to the

extent otherwise expressly permitted by statute or by Rule 35 of the Federal Rules of Criminal

Procedure”; or (3) in cases where the applicable sentencing range “has subsequently been

lowered by the Sentencing Commission.” All three provisions are inapplicable in this case.




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     Accordingly, Defendant’s Motion for Modification of Sentence (Docket # 747) is

DENIED.

     IT IS SO ORDERED THIS 12th day of August, 2010.



                                        _________________________________
                                        UNITED STATES DISTRICT JUDGE




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